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CASE NO. CV 02-00322 NM (JWJx)
MATTEL, INC.
Plaintiff,
ORDER GRANTING
DEFENDANTS’ MOTION TO
v, DISMISS
GREINER & HAUSSER: R. —LDocketed
HAUSSER; M.-L. HAUSSER +<Cop les Sent
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I. INTRODUCTION

Mattel, Inc. (“Mattel”) initiated this action for declaratory and injunctive
relief on January 11, 2002, against Greiner & Hausser GmbH (“G&H”), R.
Hausser, and M.-L. Hausser (“Defendants”). This litigation and a related lawsuit
in Germany (“German Action”) both concern the parties’ rights over the “Build-
Lilli” doll, a precursor to the popular “Barbie” doll. In its First Amended
Complaint (“FAC”), Mattel seeks to enjoin Defendants from asserting “in any
jurisdiction” any allegation or claim that Mattel has infringed or impaired any
rights to or interest in the “Bild-Lilli” doll. FAC, {{ 23, 27. Mattel also seeks a
declaration that any claims Defendants may have against Mattel relating to the

“Barbie” or “Bild-Lilli” dolls are barred by the doctrines of laches, watver, release

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and estoppel. FAC, § 33. This court previously denied Mattel’s motion for a
preliminary injunction. See Order Denying Plaintiff's Motion for Preliminary
Injunction, May 16, 2002.

Now pending before the court is Defendants’ motion to dismiss Mattel’s
First Amended Complaint (“FAC”) on the grounds that: (1) this court lacks
personal jurisdiction over Defendants under Federal Rule of Civil Procedure
(“FRCP”) 12(b)(2); (2) this court is an improper venue under FRCP 12(b)(3); (3)
the doctrine of forum non-conveniens should be applied in favor the German
Action; and (4) Mattel improperly seeks to use the Declaratory Judgment Act to
establish affirmative defenses to claims being litigated before another court.

II. FACTS’

On March 24, 1961, G&H and Louis Marx & Co. (“Marx”), G&H’s
exclusive American licensee, filed a complaint for patent infringement against
Mattel in United States District Court, Southern District of California, Central
Division (hereinafter “the 1961 California Action”). See Pruetz Decl., Ex. C.’
G&H and Marx alleged that Mattel was wilfully infringing G&H’s U.S. Patent No.
2,925,684 for a doll hip joint. Id. Mattel filed an answer and a counterclaims for
declaratory relief and unfair competition. Pruetz Decl., Ex. D at 73-76.

G&H and Marx subsequently filed a “counterclaim” against Mattel for
unfair competition, alleging that Mattel’s Barbie dolls were a “direct take-off and
copy” of G&H’s “Bild-Lilli” doll, and that Mattel falsely advertised and
represented that Mattel had “pioneered and originated the said doll design.”

Pruetz Decl., Ex. E at 82. Mattel followed by asserting amended counterclaims for

 

' The following facts are presumed to be true only for the purposes of this motion.

* “Pryetz Declaration” refers to attorney Adrian Pruetz’s Declaration in Support of
Mattel’s Motion for Preliminary Injunction which Mattel incorporates by reference in its
Opposition to the present motion. Opposition at 2.

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(1) declaratory judgment that G&H’s patent was invalid and not infringed by
Mattel; (2) unfair competition, alleging that G&H and Marx conspired to compete
unfairly with Mattel by marketing an inferior doll of confusingly similar
appearance to Mattel’s Barbie doll; and (3) patent infringement against Marx of
two Mattel toy gun patents. Pruetz Decl., Ex. F at 90-95.

On March 4, 1963, Marx, G&H, and Mattel entered into a “Stipulation of
Dismissal,” in which Mattel dismissed its infringement claims against G&H and
Marx, and G&H and Marx dismissed their copying claim against Mattel, with
prejudice. Pruetz Decl., Ex. A at 5. The stipulation stated that “Mattel’s
Complaint and Counterclaims against defendant, and Defendant’s Counterclaims
against plaintiff [are] dismissed with prejudice as to all causes of action raised by
said pleadings ....” Id.

In 1964, Mattel approached G&H in Germany, and the parties entered into a
series of agreements by which Mattel obtained from G&H all rights to use and
reproduce the Bild Lilli doll worldwide, with the exception of the territories
licensed to Marx. (“1964 License Agreements”) Pruetz Decl. Ex. B at 18-20, 48,
50-51; see also Motion at 6-7. The Marx territories were automatically transferred
to Mattel upon expiration of G&H’s contracts with Marx tn July 1970. Pruetz
Decl. Ex. B at 19. These agreements were negotiated and signed in Germany and
contained the parties’ stipulation that “[t]he place of jurisdiction is agreed to be
Coburg [Germany].” Musgrave Decl., Ex. 2 at 11; Ex. 3 at 17; Ex. 4 at 21.

In 1999, Rolf Hausser initiated correspondence with the Mattel, attempting
in part to establish a friendly relationship between the parties. The relationship
subsequently deteriorated into threats of litigation. See, McShane Decl.,

Exs. B - F.

In May 2001, G&H filed suit in Germany against Mattel based on fraud

(“the German Action’). See Pruetz Decl., Ex. B. In the German Action, G&H

claims it was defrauded into entering into the 1964 License Agreements with

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Mattel through Mattel’s alleged misrepresentation of sales figures for its Barbie
dolls, and that had G&H known the actual sales figures, it would have insisted on
being paid a royalty for every Barbie doll sold, rather than accepting a flat
payment. See Pruetz Decl., Ex. B at 11, 25. G&H seeks a declaratory judgment
that it is not bound by the 1964 License Agreements in which G&H granted Mattel
the rights of use for the “Bild-Lilli doll. Id. at 8, 32. G&H also seeks damages in
the form an appropriate royalty for every Barbie doll sold since 1964. Id. at 25.

In January 2002, Mattel initiated the current action for declaratory and
injunctive relief against Defendants, requesting that this court enjoin Defendants
from asserting in “any jurisdiction” any allegation or claim that Mattel has

infringed or impaired any rights to or interests in Defendants’ “Bild-Lilli” doll.

Il. ANALYSIS
A. FRCP 12(b)(2): Personal Jurisdiction

Defendants first argue that the amended complaint should be dismissed
pursuant to FRCP 12(b)(2) because this court lacks personal jurisdiction over
them. Motion at 9. In its Opposition, Mattel offers three bases justifying this
court’s exercise of personal jurisdiction over Defendants: (1) Defendants’
participation in the 1961 California Action; (2) Defendants’ contacts with
California; and (3) Defendants’ national contacts pursuant to FRCP 4(k)(2). The
court finds that none of these bases support personal jurisdiction over Defendants.

1. The 1961 California Action

Mattel argues that this court may exercise jurisdiction over Defendants
because Mattel purportedly seeks to enforce the judgment of dismissal entered in
the 1961 California Action. Opposition at 8. According to Mattel, the court’s
“continuing jurisdiction has long been established and the minimum contacts
analysis does not apply.” Id. Ordinarily, a party who chooses to litigate in a

district surrenders jurisdictional objections to other suits asserted against it

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“arising out of the same nucleus of operative facts.” General Contracting &
Trading Co. v. Interpole, Inc., 940 F.2d 20, 24 (1st Cir. 1991). Such exercise of
personal jurisdiction must, however, comport with the principles of due process.
Id. at 22.

Mattel attempts to meet its jurisdictional burden by characterizing this
action as one to enforce the court’s judgment of dismissal of the 1961 California
Action. The dismissal of the 1961 California Action, however, is not at issue.
Defendants do not challenge the validity of the dismissal. Nor do they assert in
the German Action either the “copying” or patent infringement claims of the 1961
California Action. Rather, they sue for fraud, based on Mattel’s alleged
misrepresentations in the Germany-based negotiations for the 1964 License
Agreements - conduct that post-dated dismissal of the 1961 California Action.
There is nothing in the judgment of dismissal to enforce, and it forms no basis for
the exercise of this court’s jurisdiction.> Moreover, as set forth below, even were
Mattel seeking to “enforce” the dismissal of the 1961 California Action, the
exercise of jurisdiction over these Defendants some 40 years later would violate
due process. See discussion infra.

2. Specific Jurisdiction

Alternatively, Mattel argues that this court may exercise personal
jurisdiction based on a “minimum contacts” analysis. Opposition at 10-14. Fora
court to have personal jurisdiction over a defendant, due process requires that the
defendant have sufficient minimum contacts with the forum that the maintenance

of the lawsuit does not offend “traditional notions of fair play and substantial

 

* Mattel’s own complaint contradicts its assertion that it seeks only to enforce the
judgment of dismissal of the 1961 California Action. In its First Amended Complaint, it asserts
rights arising in part out of the 1964 Licensing Agreements - nights already being litigated before
a German court. FAC, 7 31. If, as Mattel claims, it has affirmative defenses to Defendants’
fraud claims, the place to raise them is in the ongoing German Action.

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justice.” International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).* The
plaintiff bears the burden of establishing personal jurisdiction. Omeluk, 52 F.3d at

 

269, Ifa non-resident defendant raises the issue of a court’s lack of personal
jurisdiction, the burden shifts to the plaintiff to establish a prima facie showing of
jurisdictional facts. Id. at 268. A plaintiff may do so by establishing that a court
has either general or specific jurisdiction over the defendant.

Mattel contends that the court has specific jurisdiction over Defendants.
Opposition at 10-18.° Specific jurisdiction exists when: (1) the defendant
purposely availed himself of the privilege of conducting activities in the forum
state, thereby invoking the benefits and protections of its laws; (2) the claim arises
from the defendant’s forum-related activities; and (3) the exercise of jurisdiction is
reasonable. Ziegler v. Indian River County, 64 F.3d 470, 473 (9th Cir. 1995).

Mattel argues that Defendants have purposely availed themselves of the
privilege of conducting activities in the forum state. According to Plaintiff,
Defendants’ contacts within California include: (1) attempting to compete with
Mattel by entering into an agency relationship with Marx prior to the 1961
California Action; (2) filing the 1961 California Action; (3) entering into the 1964
Licensing Agreements in Germany with Mattel, a California-based company;

(4) reviving contact between the two parties in 1999 either to renew a business
relationship or to threaten litigation; and (5) hiring American counsel. Such a

scant record of contacts does not constitute purposeful availment of the

 

* In addition to the requirements of due process, an exercise of personal jurisdiction over
a non-resident must comport with the relevant long-arm statute. Omeluk v. Langsten Slip &
Batbyggeri, 52 F.3d 267, 269 (9th Cir. 1995). Itis the practice of federal courts to use the long-
arm statute of the forum state. Id. California’s long-arm statute extends this court’s jurisdiction
to the limits imposed by the Due Process Clause. CAL. Crv PROC. CODE § 410.10.

* Mattel does not suggest that Defendants have the kind of “substantial” or “continuous
and systematic” contacts with California to support general jurisdiction. Bancroft & Masters v.
Augusta Nat’] Inc., 223 F.3d 1082, 1086 (9th Cir. 2000).

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protections of California.

The only contact which might constitute purposeful availment is
Defendants’ initiation of the 1961 California Action.* However, this contact
occurred over four decades ago. The Ninth Circuit has held that prior litigation
within the forum state alone is not a sufficient basis for specific jurisdiction. See
Threlkeld v. Tucker, 496 F.2d 1101, 1104 (9th Cir. 1974). Instead, “[t]here must
be a history of relevant contacts between the nonresident defendant and the
state. . .[which] must not have been weakened by the passage of time.” Id. The
other contacts with California initiated by Defendants, such as selling some dolls
through Marx over 30 years ago, entering into the 1964 Licensing Agreements in
Germany, and sending letters to Mattel in 1999, do not adequately supplement the
1961 California Action sufficiently to constitute “purposeful availment.” See,
e.g., Glencore Grain, 284 F.3d at 1124-25 (sending several shipments to California
not sufficient for “purposeful availment”); Peterson v. Kennedy, 771 F.2d 1244,
1262 (9th Cir. 1985) (“Both this court and the courts of California have concluded
that ordinarily use of the mails, telephone, or other international communications
simply do not qualify as purposeful activity invoking the benefits and protection
of the [forum] state”) (internal quotations omitted); Cascade v. Hiab-Foco AB, 619
F.2d 36 (9th Cir. 1980) (nonresident defendant’s sending of several cease and
desist letters to resident does not subject nonresident to specific jurisdiction);
Douglas Furniture Co. v. Wood Dimensions, Inc., 963 F. Supp. 899 (C.D. Cal.
1997) (same).

Finally, Defendants’ initiation of the German Action does not, as Mattel
asserts, constitute a contact with California for purposes of establishing personal
jurisdiction. Compare Yahoo!, Inc. v. La Ligue Contre le Racisme et
l’Antisemitisme, 145 F. Supp. 2d 1168 (N.D. Cal. 2001) (initiation of foreign suit

 

* Margarethe Hausser was not a party to the 1961 California Action. Motion at 3.

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constituted contact where (a) foreign judgment would require plaintiff “to perform
specific physical acts” in California; and (b) enforcement of foreign order would
violate plaintiff's First Amendment nights in U.S.).

In short, Mattel’s claim does not arise out of Defendants’ previous contact
with the forum state, as there is no actual controversy regarding the dismissal of
the 1961 California Action. Defendants’ other contacts with this forum either
occurred too long ago or were too insubstantial to constitute the minimum contacts
necessary to support the exercise of specific jurisdiction.

3. Jurisdiction under FRCP 4(k)(2)
Alternatively, Mattel argues that this court may exercise jurisdiction over

Defendants under the federal long arm statute found in FRCP 4(k)(2). Opposition

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at 14. Under FRCP 4(k)(2), a federal court may exercise jurisdiction over a

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foreign defendant when: (1) the cause of action arises under federal law; (2) the

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defendant is not subject to the personal jurisdiction of any state court of general

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jurisdiction; and (3) the federal court’s exercise of personal jurisdiction comports
with due process. Glencore Grain, 284 F.3d at 1126. FRCP 4(k)(2) eliminates a

potential loophole in the personal jurisdiction scheme that would allow a foreign

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defendant with sufficient contacts with the U.S. to evade enforcement of federal

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law because its contacts were too spread out to support personal jurisdiction in any

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one district. R. Griggs Group Ltd. v. Consol. Shoe, Inc., 1999 WL 22621, at * 2

(N.D. Cal. April 9, 1999); citing Fed. R. Civ. P. 4(k)(2) advisory committee note.
Mattel argues that as its complaint arises out of federal law, the Copyright

Act, the first FRCP 4(k)(2) factor is satisfied. Opposition at 14. Defendants

contend, however, that it would be improper for this court to justify its exercise of

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jurisdiction based on the Copyright Act, because a federal court may not apply the

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Copyright Act beyond the territorial limits of U.S. sovereignty. Reply at 10. The

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court need not decide the impact of the jurisdictional limit of the Copyright Act on

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the “federal law” requirement of Rule 4(k)(2), because exercising jurisdiction

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under Rule 4(k)(2) is inappropriate on other grounds.

Under the evidence submitted to the court, it does not appear that
Defendants are subject to the personal jurisdiction of any state court of general
jurisdiction. Mattel has failed, however, to establish that Defendants have
“significant nationwide contacts” justifying the exercise of jurisdiction under
FRCP 4(k)\(2). As noted above, Defendants’ contacts within California have been
neither significant nor continuous. There are no significant contacts added to the
analysis if the geographic range is expanded to the United States. Accordingly, an
exercise of FRCP 4(k)(2) jurisdiction would not satisfy the requirements of due
process. See, e.g., Glencore Grain, 284 F.3d at 1126-27 (defendant’s regular
shipments of product into U.S. to be sold through its agent insufficient to justify
FRCP 4(k)(2) jurisdiction); American Telephone & Telegraph Co. v. Compagnie
Bruxelles Lambert, 94 F.3d 586, 590 (defendant employee’s attendance at board
of directors meetings in U.S. insufficient to justify FRCP 4(k)(2) jurisdiction).

4. Reasonableness of an Exercise of Personal Jurisdiction

Even ifa defendant’s number of contacts with the forum state is sufficient, a
court must analyze whether the exercise of personal jurisdiction is “reasonable”
using the seven factors announced by the Supreme Court in Burger King Corp. v.
Rudzewicz, 471 U.S. 462 (1985): (1) the extent of the defendant’s purposeful
interjection into the forum state’s affairs; (2) the burden on the defendant of
defending in the forum; (3) the extent of conflict with the sovereignty of the
defendant’s home state; (4) the forum state’s interest in adjudicating the dispute;
(5) the most efficient judicial resolution of the controversy; (6) the importance of
the forum to the plaintiff's interests in convenient and effective relief; and (7) the
existence of an alternative forum. Glencore Grain Rotterdam, 284 F.3d at 1125.
An examination of the factors as applied to the present suit compels the conclusion

that any exercise of personal jurisdiction over Defendants would be unreasonable.

 

 
 

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(1) Extent of Defendants’ Purposeful Interjection into California: The

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limited extent of Defendants’ “purposeful interjection” into California favors
dismissal. There are only two contacts that arguably constitute “purposeful
interjection” into California. The first is the 1961 California Action. As noted
above, however, “purposeful interjection” cannot be established by the filing and
dismissal of a lawsuit over 40 years ago. The other contact is Defendants’ sale of
“Bild-Lilh” dolls in California through Marx. This contact, however, 1s also
significantly “stale” for it occurred over 30 years ago.

(2) The Burden on Defendants of Defending in California: The burden on
Defendants of defending this suit in California is high. G&H is a company
currently in liquidation proceedings in Germany. The two individual defendants
are German citizens, one of whom is 93 years old; the other was not a party to the
1961 California Action. There is no evidence presented by Mattel that either
individual has been in California at any time. Furthermore, Defendants are
currently litigating the German Action in Germany. Requiring them to defend this
suit while attempting to litigate concurrently in Germany would interfere with
their ability to prosecute their claims in the German forum.

(3) The Extent of Conflict with the Sovereignty of Germany: The current
action would certainly conflict with the sovereignty of the German courts. The
Ninth Circuit has held that when the defendant is foreign and there is a potential
conflict with another nation’s sovereignty, “the sovereignty barrier 1s high and
undermines the reasonableness of personal jurisdiction.” Amoco Egypt Oil Co. v.
Leonis Navigation Co., Inc., 1 F.3d 848, 852 (9th Cir. 1993), as quoted in,
Glencore Grain, 284 F.3d at 1126 (dismissing case on personal Jurisdiction
grounds in favor of previously filed litigation in India or alternatively arbitration
in England as provided for in a contract negotiated in England by the parties).
Any attempt by this court to adjudicate Mattel’s potential affirmative defenses to

litigation pending in Germany would necessarily interfere with the German Action

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and undermine the integrity of the German courts.

(4) California’s Interest in Adjudicating the Dispute: California’s interest
in adjudicating this dispute is non-existent. Because Defendants are not
attempting to relitigate the 1961 California Action in the German Action, there is
no need for this court to protect the integrity of a judgment entered some 40 years
ago.

(5) The Most Efficient Resolution of the Dispute: The most efficient
resolution of the dispute clearly favors dismissal in favor of the previously-filed
German Action. Were this case to proceed, the parties would be required to
inconveniently litigate two related actions in two different nations. Additionally,
two courts, half a world away, would be required to expend resources adjudicating
facts and issues that could and should be resolved in a single proceeding.

(6) The Importance of the Forum to Mattel’s Interests in Convenient and
Effective Relief. The importance of this forum to Mattel’s interests is minimal.
Although it might be more convenient for Mattel to litigate in California, Mattel 1s
not only an international corporation, but the “largest independent manufacturer of
toys, dolls and die-cast vehicles in the world.” FAC, | 9. Mattel is already
defending itself in the German Action, in accordance with a forum selection clause
it negotiated with Defendants in Germany. If anything, litigating in both
California and Germany is less convenient for both parties.’

(7) The Existence of an Alternative Forum: Germany is an alternative
forum in which Mattel may raise its affirmative defenses of res judicata, collateral
estoppel, laches, waiver, and release to Defendants’ claims of fraud in the

negotiation of the 1964 Licensing Agreements. Germany is the forum to which

 

Because Mattel is already litigating the German Action, it appears its choice of this
forum is less of a question of convenience to Mattel than of inconvenience to G&H, its
nonagenarian former director, and his wife, who was never a party to the 1961 California Action.

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Mattel agreed in the 1964 Agreements negotiated and signed in Germany.
Furthermore, litigation is already pending in Germany, and Mattel is actively
defending itself there.

Accordingly, the court finds that any exercise of personal jurisdiction over
Defendants is unreasonable. The court GRANTS Defendant’s motion for

dismissal based on lack personal jurisdiction pursuant to FRCP 12(b)(2).’

B. FRCP 12(b)(3): Improper Venue

Defendants assert that this court is an improper venue for this litigation,
because the 1964 Licensing Agreements, negotiated and signed in Germany,
expressly designate Coburg, Germany in their forum selection clauses. Motion at
18. The forum selection clause in each of the 1964 License Agreements provides:
“The place of jurisdiction is agreed to be Coburg.” Decl. of R. Kenton Musgrave,
Ex, 2 at 11, Ex. 3 at 17, Ex. 4 at 21.

Mattel first contends that the forum selection clause of the 1964 License
Agreements should not be determinative, because Mattel’s claims supposedly do
not arise out of the 1964 Agreement. Opposition at 18. As noted above, this is
not an accurate characterization of the present suit. Additionally, because Mattel
is in fact attempting to establish potential affirmative defenses to the German
Action brought under the 1964 Licensing Agreements, the court finds the forum
selection clauses applicable to the current action.

Alternatively, Mattel argues that the forum selection clause in the 1964
License Agreements is permissive rather than mandatory. Opposition at 19. Fora
forum selection clause to be mandatory, “a clause must contain language that

clearly designates a forum as the exclusive one.” Northern California District

 

® Although the court holds that the case should be dismissed pursuant to FRPC 12(b)(2),
Defendants raised other grounds for dismissal. Because they provide alternative grounds for its
decision, the court addresses those arguments below.

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Council of Laborers v. Pittsburg-Des Moines Steel Co., 69 F.3d 1034, 1037 (9th
Cir. 1995). Mattel argues that “[t]he place of jurisdiction is agreed to be Coburg”
does not sufficiently specify that Germany has exclusive jurisdiction over matters
arising from the 1964 License Agreements. Instead, it merely signifies that Mattel
consented to submit to the jurisdiction of a German court should a suit be brought
there against it. Opposition at 20-21.

This argument disregards the well-established deference owed to forum
selection clauses in international agreements. See, e.g., Scherk v. Alberto-Culver
Co., 417 U.S. 506, 516-17 (1974) (the refusal of the court of one nation to honor a
forum selection clause “would invite unseemly and mutually destructive jockeying
by the parties to secure tactical litigation advantages.”); M/S Bremen v. Zapata
Off-Shore Co., 407 U.S. 1, 13-14 (1972) (“The elimination of [jurisdictional]
uncertainties by agreeing on a forum acceptable to both parties is an indispensable
element in international trade, commerce, and contracting.’’); Richards v. Lloyd’s
of London, 135 F.3d 1289, 1294 (9th Cir. 1998) (accord). Mattel, a highly
sophisticated party, negotiated the forum selection clauses in Germany, and
“agreed” that the “jurisdiction” for disputes arising under the agreements was to be
Coburg, Germany. Deference to international comity warrants holding Mattel to
its agreement. Accordingly, as an alternative basis for its decision, the court
GRANTS Defendants’ motion to dismiss this action for improper venue FRCP
12(b)(3).

C. Forum Non-Conveniens
Defendants also argue that this court should dismiss the present action in
favor of the German Action under the doctrine of forum non-conveniens. Motion
at 20-24. The determination whether a case should be dismissed under forum non-
conveniens is “committed to the sound discretion of the trial court.” Piper Aircraft
Co. v. Reyno, 454 U.S. 235, 257 (1981). In making its determination, a court

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should determine whether: (1) there is an adequate alternative forum; and (2) the
private and public interests involved in the case weigh in favor of resolving the
parties’ dispute in the alternative forum. Lockman Foundation v. Evangelical
Alliance Mission, 930 F.2d 764, 767 (9th Cir. 1991). Although there 1s less
deference to a foreign plaintiff's choice of forum, a “citizen’s forum choice should
not be given dispositive weight.” Id. “[I]f the balance of convenience suggests

that trial in the chosen forum would be unnecessarily burdensome for the

 

defendant or the court, dismissal is proper.” Id., quoting Piper Aircraft, 454 U.S.
at 256 n.23.
1, Adequate Alternative Forum

Defendants bear the burden of proving an alternative forum. The
requirement of an adequate alternative forum is usually fulfilled when the
defendant is amenable to process in the other jurisdiction. Id. At 768. A court
should not give substantial weight to the possibility of a change in law. Piper
Aircraft, 252 U.S. at 250. (“[I]f conclusive or substantial weight were given to the
possibility of a change in law, the forum non-conveniens doctrine would become
virtually useless.’’)

The German court currently hearing the German Action is an adequate
alternative forum. Because D&H is a German company and the Haussers are
German citizens, Defendants are clearly amenable to process in Germany.
Additionally, they have already filed a suit against Mattel in Germany. There is no
evidence suggesting the German court is incompetent to determine Mattel’s rights
in the pending litigation, including any affirmative defenses Mattel may have.
Indeed, Mattel acknowledges that it is opposing Defendants’ fraud claim “on the
merits” and has not challenged the jurisdiction of the German court. Opposition at
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2. Private and Public Interests

After determining that the alternative forum is adequate, the court must then
determine whether private and public interests weigh in favor of dismissing the
action on forum non-conveniens grounds. Lockman Foundation, 930 F.2d at 769.
Both public and private interests clearly weigh in favor of dismissing the suit.

a. Private Interest Factors

In examining the private interests, a court may consider: (1) ease of access
to sources of proof; (2) compulsory process to obtain the attendance of hostile
witnesses; (3) the cost of transporting friendly witnesses; and (4) other problems
that interfere with an expeditious trial. Id., quoting Contact Lumber Co. v. P.T.
Moges Shipping Co., 918 F.2d 1446, 1451 (9th Cir. 1990) (internal quotations
omitted). In the current action, the private interests favor dismissal. Mattel cannot
contend that litigating in Germany - as it is already doing - deprives it of access to
any sources of proof or prevents it from obtaining the testimony of necessary
witnesses. As Mattel is defending the German Action on the merits, any
additional cost of asserting potential affirmative defenses in that action will be
minimal, Moreover, although Mattel is headquartered in California, it is an
international corporation with business operations within Germany. Indeed,
Mattel is the largest independent toy and doll manufacturer on the face of the
planet. FAC, § 9. Defendants are two German individuals, one of whom is 93
years old, and a small German corporation currently involved in liquidation
proceedings in Germany. McShane Decl., Ex. F. In short, any additional burden
on Mattel would be minimal, while the burden on Defendants - German citizens
and residents with no significant contacts in this country - would be enormous.

Most important, the parties have been involved in the German Action for
over a year. While Mattel does not directly seek to enjoin the German Action, it is
clear that any adjudication of issues relating to Mattel’s affirmative defenses

would necessarily interfere with an expeditious resolution of the German Action.

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Unless an interest in disrupting or delaying ongoing foreign litigation is worthy of
consideration, no private interest whatsoever favors concurrent litigation in two
foreign forums.
b. Public Interests

In examining the public interests at issue, a court may examine: (1) court
congestion; (2) local interest in resolving the controversy; and (3) the preference
for having a forum apply a law with which it is familiar. Lockman Foundation,
930 F.2d at 771. The public interests favor dismissal. The docket of this court is

 

among the most congested in the nation. See Pagtalunan v. Galaza, 291 F.3d 639,
644 (9th Cir, 2002) (Trott, J. concurring). While the court has an interest in
upholding a judgment entered in this district, it has no less an obligation to dismiss
duplicative claims to preserve its limited resources. Furthermore, Germany has a
far stronger interest in this action. Despite Mattel’s characterization of the current
action, its intent is for this court to interfere with the German Action through an
injunctive order that will ultimately affect the course of the German Action. The
German court clearly has an interest in the outcome of the German Action, for the
1964 License Agreements were negotiated and executed in Germany, the allegedly
fraudulent conduct occurred in Germany, and the parties agreed on Germany as
the place of jurisdiction. The familiarity of this court with United States copyright
law is irrelevant, as Defendants have neither challenged the validity of the 1961
dismissal nor raised a “copying” claim mm the German Action.

It is clear that both private and public factors favor resolving this case in
Germany. It 1s equally clear that the German courts provide an adequate
alternative forum for Mattel to raise its proposed affirmative defenses.
Accordingly, as an alternative basis for its decision, the court GRANTS
Defendants’ motion to dismiss under the doctrine of forum non-conveniens in

favor of the German Action.

 

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D. The Appropriateness of Declaratory Relief

Defendants argue that Mattel’s request for a declaratory judgment is
improper. Motion at 24-25. Defendants assert that Mattel is asking this court to
adjudicate the affirmative defenses of res judicata, collateral estoppel, statutes of
limitations, laches, and waivers, which Mattel may assert against Defendants in
the German Action. Id. at 25. See also, Opposition at 24-25. The court agrees.

A declaratory judgment 1s appropriate to clanfy the legal relationships
whose uncertainty creates an “actual controversy” that has not yet reached a stage
at which either party may seek a coercive remedy and in cases where a party who
could sue for coercive relief has not yet done so. Seattle Audubon Society v.
Moseley, 80 F.3d 1401, 1405 (9th Cir. 1996); 28 U.S.C. § 2201. The purpose of

the Declaratory Judgment Act 1s to “allow earlier access to federal courts in order

 

to spare potential defendants from the threat of impending litigation.” Seattle
Audubon, 80 F.3d at 1405. Mattel has been sued for coercive relief in the German
action, and such suit was brought before Mattel filed the present action seeking
declaratory relief. Moreover, as explained above, there 1s no “actual controversy”
other than the German Action between the parties that can be characterized as
“substantial” and “of sufficient immediacy and reality” to satisfy the requirements
of the Declaratory Judgment Act. See 28 U.S.C. § 2201; Seattle Audubon, 80 F.3d
at 1405 (quoting National Basketball Ass’n v. SDC Basketball Club, 815 F.2d
362, 565 (9th Cir. 1985)).

Furthermore, it is inapropriate for Mattel to attempt to use declaratory relief
to establish defenses to claims pending in a separate case in another forum. 0B
Wright, et. al., Federal Practice and Procedure 3d, § 2758 at 519 (1998). Mattel’s
claim that it is merely seeking “a declaration that defendants have no nght to
pursue Mattel for ‘copying’ under any theory or circumstance, owing in part to the
judgment in the 1961 California Action” is disingenuous. Opposition at 24.

Defendants have not sued Mattel for “copying” or any other claim asserted in the

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1 | 1961 California Action. Nor have Defendants challenged the dismissal of the
2 || 1961 California Action. They have sued Mattel for fraud arising out of the post-
3 | dismissal negotiations in Germany of the 1964 License Agreements. Contrary to
4 || its assertion, Mattel is clearly attempting to establish potential affirmative defenses
5 | - including res judicata and collateral estoppel - to the pending German Action.
6 || Mattel’s attempt to use the Declaratory Judgment Act to invoke this court’s
7 || jurisdiction is improper. Accordingly, the action must be DISMISSED.
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9 {V. CONCLUSION
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11 The Court finds as follows:
12 (1) This court lacks personal jurisdiction over Defendants. FRCP 12(b)(2).
13 (2) The Central District of California is an improper venue. FRCP 12(b)(3).
14 (3) The doctrine of forum non-conveniens warrants dismissal of this action.
15 (4) This action is an improper use of the Declaratory Judgment Act, 28
16 U.S.C. § 2201.
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18 For each of the foregoing reasons, Defendants Motion to Dismiss is
19 | GRANTED. This action is dismissed with prejudice.
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21 | DATED: July 15, 2002 LE
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23 ora M., Manella
94 United States District Judge
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